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                              EXHIBIT 2
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                             DECLARATION OF             .:TOHN toG         L
    I, 1   <Jon" Doe 1          :, declare and state the following:
           1. I am 16 years old. I was born in Reynosa, Mexico.

           2. I came to the United States when I was ten months old. I lived with my mom in

               Macallen, Texas until I was sixteen. While living in Macallen, I attended school. I was

               about to finish ninth grade when I was taken into custody by immigration authorities.

           3. One day in 2017, I was driving with some friends. The driver of the car was pulled over,

              and the police searched our car. They asked for identification, and no one had any, so

               they called immigration.

           4. I was then arrested, and taken to a shelter in Harlingen, Texas. I stayed at the shelter in

              Harlingen for approximately two months.

           5. While I was staying at Harlingen, I tried to escape, but I did not succeed. I was then

              transferred to BCFS, a staff secure facility in San Antonio, Texas.

           6. I felt safe at BCFS. I played soccer, was treated well by staff, and enjoyed visits from my

              family.

           7. While I was staying at BCFS, I saw a doctor who told me I had ADHD, depression, and

              anger management issues. The doctor gave me Prozac, Trazodone, and two other

              medications, which I was told are used for my mood and concentration.

       8. Sometimes I would get in trouble with the staff at BCFS because other kids would pick

              on me and I would defend myself. I got in verbal fights with other kids a few times, and

              once I tried to hit a kid. The staff restrained me, and took me to the floor.

       9. I was feeling very angry and very sad during this time. I started to harm myself. I cut my

              wrists.
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                 I 0. Because of my anger, I was taken to see a doctor at a hospital or a rehab place. I stayed

                     there for about twenty days, before I was taken back to BCFS.

                 11. Shortly after I returned to BCFS, I was transferred to Shenandoah. I had been at BCFS

                     for about three months. I was told I was "going to a better place," but I knew I was being

                     transferred to juvenile.

                 12. I arrived at Shenandoah on September 30, 2017. I did not see a doctor when I arrived,

                     but my medications came with me. I am still taking them.

                 13. Soon after I arrived at Shenandoah, I met my case manager, Emily. She told me I had

                     been transferred to Shenandoah because of behavioral issues. She also told me that ifl'm

                     good for 30 days, they'll send a request for a transfer.

                 14. I was assigned to live in Alpha Pod. I was told by staff and other kids that people who

                     behave badly go to Alpha Pod.

                 15.1 feel very sad at Shenandoah. I do not have many privileges. A few months ago r cut

                    myself again, but I haven't done it in a while.

                 16. I am not allowed outside of the building at all. I have not been outside since I've been

                    here. We have gym class, but it is always indoors.

                 17. In addition to gym, I take math, science, and art. My favorite class is art. I don't like my

                    other classes. They aren't interesting because they are too easy. The teachers teach

                    things I learned in elementary and middle school. I never took a test here to measure my

- - - - - - - - -grcrde-revel.

                 18. Generally, they teach class in Spanish. Sometimes they teach in English. Spanish is my

                    native language, but I understand English very well because I lived most of my life in

                    Texas.



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       19. Some of the staff here are nice, they'll joke around with you. Some are all mean. They

           tel l you do this, do that. Some of them are bilingual, but a lot of them are not.

      20. I often overhear staff members insult me and other kids in English, thinking we cannot

           understand them. If you don't know Spanish, they will talk shit. They will say,

          "Hispanics, they don't know nothing, they just come to our country," and tell the kids

           they're stupid, make fun of them for not understanding English. I was the only one who

          understood what they were saying because I am the only federal kid who speaks English.

      21. The staff will say things behind the kids' backs, but in a way that the kids can hear them.

          I became very frustrated, so I started to tell the other kids what the staff was saying about

          them in English. The staff got very mad at me for this and took away my points.

      22. I have complained about the staff being racist. I submitted a report and Mr. K, the

          director, came to talk to me about it.

      23. There are local kids and federals (immigrant kids) at Shenandoah. We don't interact with

          the local kids at all but we see them in the hallways and pass by the pods where they live.

          They have different privileges and they are treated differently. They can go outside

          more, staff is friendlier to them. They get Xboxes in their pods and they have computers

          in their classrooms. I have said things to the staff about it, but no changes have been

          made. We want to be treated equally, like the locals. They shouldn't look down on us for

          not having papers.

      24-. -1cfe~is-bmi-t-o belrere-:--1--g-erre-aUy-arrgry-:--I"mfrustrated-abour-bern-g--Jcrcked--up;-and I

          miss my family.

      25. One time, about one or two months ago, I was mad and I said, "Fuck school and fuck this

          place" during class, and the staff removed me from the program. They took me to my



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          room. I told them I didn't want Lo go, and I was resisting it - I wasn't letting them grab

          me. They put the handcuffs on me. When I kept resisting, they drew me to the wall and

          put my face in the wall. Once I was inside my room, they took the handcuffs off. They

          kept me in my room for four hours and overnight.

      26. After that I started to behave bad a lot. I got removed from the program a lot. I was

          placed on restriction for dumb things, like trying not to go to class, joking around with

          other kids, or for saying bad words to a teacher.

      27. If you lose two points in a day, you don't go outside your room. During the night shift,

          you don't leave your room. So if you are placed on restriction you're in your room from

          the time when you are removed from the program, and through the night until the next

          day.

      28. If you are behaving bad, resisting the staff when they try to remove you from the

          program, they will take everything in your room away - your mattress, blanket,

          everything. They will also take your clothes. Then they will leave you locked in there for

          a while. This has happened to me, ad I know it has happened to other kids too.

      29. One time I was kept in my room for a day and a half. I had tried to swing at a staff

          member. I was pushing back, so they called a I 033 for backup. When the other staff

          came, they put me to the floor. They used force to push me inside my room, and then

          they put the handcuffs on me.

      30:4'lrere·' nhts-chatr,and they broughr-i r-outsirle my,-o·om--:-1r-has-wlreels-orr-irsoircan·be

          moved. They put me in the chair, strapped my arms and legs down, and put something

         over my face. lt' s a white thing with small holes in it. You can see and breathe out of it.

         They told me they were putting it on so I couldn't spit, but I hadn't tried to spit.



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              31. When I was strapped to the chair, they took the handcuffs off and they brought the chair

                  to another room. I don't know how long I stayed there, but it was maybe 30 or 40

                  minutes. After that I was brought back to my room. This was during the evening, and I

                  was kept in my room for the next day and a half, until the morning of the day after. They

                  took away my mattress, blanket, and shi1t for the first few hours, and then they brought

                  them back.

             32. When I get frustrated sometimes I talk back to staff and insult them, and I get removed

                 Jrom the program. When this happens, the staff will sometimes use force to restrain me.

                 They will grab my hands and put them behind my back so I can't move. Sometimes they

                  will use pens to poke me in the ribs, sometimes they grab my jaw with their hands. They

                 are bigger than me. Sometimes there will be three or four of them using force against me

                 at the same time.

             33. The force used by staff has left bruises on my wrists, on my ribs, and on my shoulder.

                 The doctor here gave me ibuprofen for the pain.

             34. I have been good for the past 44 days, and [ haven't been removed from the program.

                 They told me they sent a request for a transfer, and that it generally takes 60-90 days, but

                 they didn't tell me why.


                 I declare, under penalty of perjury, that all of the information I have provided here is

         correct and complete to the best of my knowledge, and I am aware of the legal consequences of
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         rn akin g a false declaration.

                 Executed this 5th day of January, 2018, in Staunton, Virginia




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